0 m 'M '® U\ b' w N P

}_1
\-\ x--‘»-¢\-».-»\-#s-\_l-l
5 3 5 § 5 5` 5 B' 5 m w m m b w N w 0

 

 

. Case 2:15-0\/- -05557- ODW- |\/|RW Document 1 Filed 07/22/15 Paoe 1 of 22 Page |D #: 1

F|LED

CLERK U. S. D|§`|l'JRlCT COURT

   

David Kaup 62547112
Federal Correctional Institute 2
Post Office Box 3850 '

Adelanto, California 92301

 

 

UNITED STATES DISTRICT COURT
§ENTRAL DISTRICT OF CALIFORNIA`

 

 

DAV1D KAUP, 0 _ ) _ _
Plalntlff, § C'Vaa§ NOOS 5 5 7,/©@%/[%4@1/\/><
Thomas A. Stockton - CEO, §
Credit Management L. P. )
Defendant. § SQMBLALNI
'A; JURIsDIcTIoN
1.

This is an action that alleges that this court has` federal

question jurisdiction over this action pursuant to 28 U.S.C. § 1332 because:

The plaintiff is an individual residing in and a citizen of the
$tate of California;

b.

a'

The defendant is a corporation organized and existing under the

laws of the State of Texas with its principle place of business in

Carrollton, Texas.

c. There is a complete diversity of citizenship between the plaintiff

and the defendant;

B. . DEFINITIONS
2. The plaintiff,-David Kaup is a '

15 U.s.c. § 16923(3),

'consumer" as defined by
"any natural person obligated or allegedly
obligated to pay any debt"

3. The defendant, Credit Management L.P. is a "debt collector"

Page 1 of 9

\D(D\l`O`\U\->L)JN\-*

' Ni-\l-.\-»s-*n-AAH\-\i-»b-\
3 53 ij § 5 5 5 o o m w m m b w ~N w c

 

 

.Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page_2 of 22 Page |D #:2

as defined by 15 U.S.C. § 1692a(6), as "any person who uses any

instrumentality of interstate commerce or the mails in any business the

principle purpose of which is the collection of any debts, or who

regularly collects or attempts to collect, directly or indirectly, any
debts owed or due or asserted to be owed or due to another.
C. v STATEMENT OF THE CASE

4. On May 2, 2015§ plaintiff obtained a copy of his credit report
Equifax Information Services, Experian Information Solution, and Trans
Union Corporation through intermediary wwww.freecreditrepont.com which
revealed that Credit Management L.P. ("defendant") had placed an entry
on the plaintiffs credit report communicating that the plaintiff
allegedly had an account in default with the defendant in the amount of
$1,969.0<`). see Exhibit A

"5. The defendant took receipt of the plaintiffs "Notice of
Administrative Remedy", which was signed and executed May 06, 2015. In
that document the plaintiff requested that the defendant validate the
alleged debt pursuant to the Fair Debt Collection Practices Act or also
vknown as "FDCPA", 15 U.S.C. § 1692g(a) and § 1692g(b) through regular
mail. See Exhibit B

.6. On May 25, 2015, The plaintiff mailed to the three major
credit reporting agencies, Equifax Information Services, Experian
lnformation Solution, and Trans Union Corporation disputing that the
debt owed to Credit Management L. P. in the amount of $1,969.00 was
unknown, inaccurate and incomplete. ln.that letter, another request for
verification and proof of debt was requested. The plaintiff asked to
permenantly remove the disputed information from his personal credit

profile if the investigation proved inaccurate. See Exhibit C

Page 2 of 9

\

' s-\l-AH\-¢s-\.¥»»-\\-sp_\-\
53 51 13 E3 13 §§ 13 ¢E§ \o an 'u o\ mm ¢~ c» h) id C)

©®\|'C\U\-PL»N‘¥'*

 

 

.Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page 3 of 22 Page |D #:3

7. , On May 25, 2015, A letter from Credit Management L.P.

stated, "Our office has reviewed the above-referenced account and we'
have made the decision to discontinue our collection efforbs." The
original creditor "Charter Communications" expressed this transaction
as a "'write-oft". see Exhibit 13v

l 8. Black¥s Law Dictionary Deluxe Ninth Edition defines" Write-
Off" as, " To transfer the entire balance (of an asset account) to an
expense or loss account to reflect the asset's total loss of value."

9. Regardless of the defendant agreeing to discontinue collections

from the plaintiff, The defendant"knowin 1 "tried to collect on a debt
g Y

that the original creditor "Charter Communications" already reflected on
its books as a total loss of value in the balance sheet.

10. Black's Law Dictionary Deluxe Ninth Edition defines
"knowingly" as, " Knowledge that one is acting in violation of some law
or regulation; knowledge that the act is done is illegal.

D. g CLAIM ONE 4

11. The plaintiff asserts that the defendant violated section
15 U.S.C. § 1692e(2)(A) of the Fair Debt Collections Practices Act when
the defendant reported to Equifax lnformation Services, Experian

lnformation Solutions, and Trans Union Corporation that the plaintiff is

in default with the defendant for the amount of $1;969.00 through

assignment from the original creditor "Charter Communications".

See Exhibit A. _

12. Tourgeman V. Collins Fin. Servs 755 F.3d 1119 states the"false
representation of the character, amount, or legal status of any debt"
is prohibited by the ("FDCPA"). The defendant intended to manipulate the
plaintiff by falsely representing the alleged debt even though it was

Page 3 of 9

\OCXJ\|`O`\U\DL\)N\'*

»-\H»-\l-\n-\Al-»s-‘»-»\-\
5 51 ij § § 5 5 3 o m v gm m b w N w O

 

 

.Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page 4 of 22 Page |D #:4

reported by the original creditor Charter Communications as a Write-Off.
13. The plaintiff hereby seeks statutory damages in the amount

of $1,000.00 for each of the three (3) violations of 15 U.S.C: § 1692e(2)(A
made by the defendant.

E. CLAIM TWO

14.v The plaintiff asserts that thedefendant violated section
15 U.S.C. § 1692e(8) of the Fair Debt Collections Practices Act when the
defendant communicated false information concerning the alleged debts
which the plaintiff never owed to the defendant, nor had the alleged
debts been assigned to the defendant. The defendant communicated to
Equifax Information Services, Experian Information Solutions, and Tran
Union Corporation false information, stating that Credit Management L.P.
had been assigned the task to collect said debt from the plaintiff,. and
the plaintiff was in default to the defendant when clearly the debt had
been written off by the original creditor Gharter Communications.
See Exhibit A v

15. Buerrero v. RJM Acquisitions LLC. 499 F.3d 943 (9th Cir. U.S.
App Lexis 20072) states " communicating or threatening to communicate to
any persons credit information which is known....to be false." In order

to sustain section 1692e(8), Credit Management L.P. never had valid

assignment authorizing them to pursue and report to all three credit
bureaus alleged debt associated with the plaintiff.

16. The plaintiff hereby seeks statutory damages in the amount of
$1,000§00 for each of the three (3) violations of 15 U.S.C. § 1692e(8)
made by the defendant.

F. _ cLAIM THREE ‘

17. The plaintiff asserts that the defendant violated section

Page 4 of 9

\D®\l`G'\U\SbJN\-\

m m N» w N w m w w w w w § w w w w
O\ U'l 4-\ bd N l"* 0 \Q m ~\l O" U\ 4-\ bd .N l"` O

l\>
\l

 

 

',Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page 5 of 22 Page |D #:5

15 U.S.C. § 1692e(10) of the Fair Debt Collections Practices Act ("FDCPA")

when the defendant used false and deceptive means to collect debts from

the plaintiff in the amount of $1,969.00. The original debt had been

written off by the creditor Charter Communications with an outstanding

balance of $0.00. By communicating false information, the defendant

attempted to gain an advantage of an unsophisticated consumer through
false misrepresentation. l

18. Heathman v. Portfolio Recovery Assocs., LLC, U.S. Dist. Lexis
27057 (9th Cir.2013) states, " A debt collector violates [section 1692e(10)
if it 'use[s].... a false representation or deceptive means to collect or
attempt to collect any debt or to obtain information concerning a '
consumer' ( a debt collectors representation that a debt is owed to it
when in fact it is not, amounts to a misrepresentation barred by.the
"FDCPA"."

19. The plaintiff hereby seeks statutory damages in the amount of
$1,000.00 for each violation of 15 U.S.C. § 1692e(10)'made by the
defendant.

c . ' cLAIM FoUR

20. The plaintiff asserts that defendant violated section 15 U.S.C.
1692e(12) of the Fair Debt Collections Practices Act when the defendant

communicated the false representation that the alleged accounts were
turned over to Credit Management L.P. for value to Equifax lnformation
Services, Experian Information Solution, and Trans Union Corporation.
'The defendant never received valid assignement to pursue or report to
the major credit reporting agencies regarding the debts associated with
the plaintiff.'

21. On May 06, 2015, The plaintiff mailed a "Debt Disclosure

Page 5 of 9

\O(D\|'O`\U\Pb.)N\-*

` \-»)-~»-»-*.-'»»-»-»l-»»-»
UB°\U§UBL)BBm\Io\meNr-*O

 

 

.Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page 6 of 22 Page |D #:6 `

Statement" to Credit Management L.P. to be filled out completely and
returned. There are several questions that are asked regarding the
transfer and assignement of the original debt which the defendant

never answered. The Plaintiff never received any proof of valid assignment,

verification of transfer right of debt, the terms of the transfer right

of debt, nor evidence that the defendant had the right to collect on a
debt as a "Third Party" by the original creditor "Charter Communications".

22. Fortunato v. Hopp Law Firm, LLC, 2012 U.S. Dist. LEXIS 152712
(9th Circuit) states, " Section 1692e(12) prohibits the false representation
or implication that accounts have been turned over to innocent purchasers
for value."

23. When determining whether a misrepresentation in a debt collection
has been made, the court must apply the " least sophisticated debtor"
standard. The analysis is objective and " takes into account whether the
"least Sophisticated debtor" would likely be misled by a communication."
(quoting Donohue v. Quick Collect, lnc., 592 F.3d 1027. 1030 (9th Cir;

2010) The plaintiff was falsely represented by the defendant of the transfer
of debt by the original creditor.

24.' The plaintiff hereby seeks statutory damages in the amount of

$1,000.00 for each of the three (3) violations of 15 U.S.C. § 1692e(12)

*made by the defendant.

H. » _ _ CLAIM FIVE

25. The plaintiff asserts that the defendant violated section
15 U.S.C. § 1692f(1) of the Fair Debt Collections Practices Act when the
defendants unconscionable means to attempt to collect alleged debts by
reporting to Equifax lnformation Services, Experian lnformation Solutions,

and Trans Union Corporation that Credit Management L.P. had obtained legal

Page 6 of 9

xooo\l'o\uw§o)'\\)\-"

` 'H w w w w » w w w H
3 51 ij § § § § 5 0 m v' m m § w N w O

 

 

.Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page 7 of 22 Page |D_#:7

permission documented by a valid assignment that the plaintiff was now in
default with debts owed to the defendant. This was an attempt to force
the plaintiff to pay monies allegedly owed to the defendant when in fact

the creditor had written of the debt as $0.00.

26. l Sukiasyan v. OCS Recovery Inc., U.S. Dist. LEXIS 29877 (9th

,Cir. 2013) states§ " a debt collector may not use unfair or unconscionable

means to collect or attempt to collect any debt. Without limiting the
general application of the foregoing, the following conduct is a

violation of this section: (1) The collection of any amount (including

any interest, fees, charge, or expense incidental to the principle-
obligation) unless such amount is expressingly authorized by the agreement
creating the debt or permitted by law." Minus the agreement to collect,

on the attempted debt, the defendat is in direct violation of this
section.

27. The plaintiff hereby seeks statutory damages in the amount of
$1,000.00 for each of the three (3) violations of 15 U.S.C. § 1692f(1)
made by the defendant.

I. DAMAGES

0 28. 15 U.S.C. § 1692k - Civil Liability - (a) Amount of Damages -
Except as otherwise prohibited by this section, any debt collectior who
fails to comply with any provision of this title [15 USCS §§ 1692 et seq.]
with respect to any person liable to such person in the amount equal to
the sum of:

(2)<A) in the case of any action by an individual, such additional

damages as the court may allow, but not exceeding $1,000.00

J; REQUESTED RELIEF

JCLAIM ONE; For the violation of 15 U.S.C. § 1692e(2)(A)

Page 7 of 9

0 m 'u `O\ U\ ¢~ 0> di P

w w w H H w w w w
§§U§BB§'<`:»)Goowo\m§uN\-‘O

 

.Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page 8 of 22 Page |D #:8

is $1,000;00 for the false representation of debt reported to Equifax

lnformation Services, Experian lnformation Solutions, and Trans`Union

Corporation.

TOTAL DAMAGES: + $3,000.00

CLAIM TWOZ A violation of 15 U.S.C. § 1692e(8) of the ("FDCPA") is $1,000.00
for submitting false information to each of the three credit reporting

agencies, Equifax lnformation Services, Experian lnformation Solutions,
and Trans Union Corporation by the defendant.

ToiAL DAMAGES= + $3,000.00
CLAIM THREE:A violation of 15 U.S.C. § 1692e(10) of the ("FDCPA") is
$1,000.00 for the false communication by the defendant to Equifax

lnformation Services, Experian lnformation Solutions,'and Trans Union

Corporation.

TOTAL DAMAGES; v ' . + $3,000.00 g

CLAIM FOUR: A violation of 15 U.S.C. § 1692e(12) of the ("FDCPA") is
$1,000.00 for the false representation by the defendant regarding the

plaintiffs alleged debt reported to Equifax Information Services, Experian

lnformation Solutions, and Trans Union Corporation.

TOTAL DAMAGES: v + $3,000.00

cLAIM FIVE: A violation Of 15 U.S.c. § 1692£(1) of the ("FDCPA") is
$1,000.00 for the unconscionable means used by the defendant to attempt
to collect on.a debt by the plaintiff knowing the debt had been "Written
Off" by the original creditor. This includes reporting to the three Major

Credit Reporting agencies Equifax Information Services, Experian lnformation

Solutions, and Trans Union Corporation of the unconscionable means to

collect.

 

TOTAL DAMAGES: + $3,000.00
F.____________

Page 8 of 9

\ooo\s'o\u\;>u)l~>t*

' 1-*:-\1-4.-*\-¢»-‘\-»\-\
§§U§B§)§'BE$vmw§wN\-»O

 

 

. Case 2:15-cV-05557-ODW-I\/|RW Document 1 Filed 07/22/15 Page 9 of 22 Page |D #:9

29. The total amount of damages requested by the plaintiff is

$15,350.00.

30. The $250.00 added is the court cost associated with this action

l David Kaup, hereby declare under penalty of perjury in the

state of California, that the information stated above and any

attachments to this form is true and correct.

DATED: 07/10/2015 BY ' 5

Page 9 of 9

` Case'2:15-cv-05557-ODW-|\/|RW Document 1 Filed 07/22/15 Page 10 of 22\__\,
TRUL|NCS 62547112 - KAUP, DAV|D - Unit: VVM-A-U

 
 

Potentia|ly Negative C|osed
Account Name CAP|TAL ONE BANK USA N
Account # 51780572XXXX
Account Type Bank Credit Cards
Balance $0.00
Past Due $0.00
Date Opened 9/1/2007
. Account Status C|osed
|V|o. Payment $0.00
' Payment Status Paid, Was past due 120 days
High Ba|ance $517.00
Limit $300.00
Terms Revolving

.'CRED1T MANAGEMEN_T LP
877741730"2
;'42_00_ 1NTERNA110NAL PvaY
cARRoLLToN TX 75007

 
   

.;Account Type Othe1' Co_l|ection Agencies
1 Balance $1; 969. 00

Past Due $1 969. 00

Date Opened 10/1/2010

Ac' 'ount Statu§

 

Terr`ns 1 Mohnth ./i -.

EOS CCA

PO BOX 981025

BOSTON, MA 02298

Unknown

Account Name EOS CCA

Account # 5987XXXX

Account Type Other Co||ection Agencies
Balance $1,190.00

Past Due $1,190.00

Date Opened 9/1'/2014

Account Status

|\/lo. Payment $0.00

Payment vStatus Seriously past due date / assigned 'to attorney, collection agency, or credit grantor's internal collection
department

High Ba|ance $0.00

Limit $0.00

Terms Unknown

|NANC|AL CREDlT NETWO

5597337550

1300 W l\/|AIN ST

V|SALIA, CA 93291

Unknown

Account Name FlNANClAL CREDlT NETWO
Account #792XXXX

Account Type Other Co|lection Agencles

` Case 2:15-cv-05557-ODW-|\/|RW Document 1 Filed 07/22/15 Page 11 012§»Pa elD#ll

 

NoTlcE
DATE, 05/06/2015

., Certified Mail Number
Dav1d Kau -' . #
lleonsumer;' _ 4
g M t'LP `, - glleged Account(s)
ana emen l -
i%§€fl%;ll€§¥;?y____ ' 4474XXXX

SSN# 612-03-xxxx
SUBJECT1 Request for Validation of Debt, and Notice of Reservation of
Rights for initiating a Counter Claim against the Debt Collector's
official Bond.
l Consumeris Private Notice of\Administrative Remedy
The private notice of administrative remedy demand is binding

upon every principle agent regarding the subject matter set forth
herein above.

` -Written communication for Validation of alleged debt(s) pursuant

to Fair Debt Collection Practices Act, 15 UlS.C. § 1692 (a)(i).

lt has come to my attention after reviewing a copy of my credit

report dated 05/01/2015 that your agency has communicated to

Equifax, Transunion or Experian that l owe ($) $1’969°00

 

to your company. Please note that I consider your demand for money

a written communication from a debt collector l now exercise my

rights pursuant to 15 U S. C. § 1692(a)(1) and request validation
of the alleged debt

l have included with this notice for proof of debt also known as
a "DEBT COLLECTIONi DISCLOSURE STATEMENT" for the legitimate purpose
of insuring that your agency's validation is executed in accordance

with the laws codified in TITLE 15 U.S.C. § 1692g and must be

completed in full by your agency and returned to me within thirty days (30

PAGE 1 of 5

' Case 2:15-cv-05557-ODW-|\/|RW Document 1 Filed 07/22/15 Page 12 of 22 Page |D #:12

of your agency‘s receipt.

CAVEAT
1. l am respectfully providing advance notice to your agency of
lthe civil liabilities under TITLE 15 U.S.C. § 1692 for failure to
comply with said provisions of this title [15 USCS§§ 1692 et seq.].
2. Upon receipt of this NOTICE, The debt collector must cease
all collection activity regarding the alleged debt(s) until the
respondent is sent the herein requested verification as required by
the FAIR bEBT COLLECTION PRACTICES ACT.
3. lf-debt collector, such as by commission, omission, and other
wise: ’

(a) Fails in giving respondent full disclosure regarding
the nature and cause of debt collector's claim
concerning the herein above referenced alleged debt.

(b) Makes false representation of the character of herein
above referenced alleged debt.

(c) Makes false representation of the_legal status of the
herein above referenced alleged debt.

(d) Makes any threat of action that cannot legally be taken
lin Violation of any applicable law, such as the law

4 at the FAIR DEBT COLLECTION FRACTICES ACT.

Respondent may initiate a counterclaim and claim against the
debt collector's bond as well as bonds of any principle agent, and
assignee of debt collector whose acts and omissions result in the
respondent sustaining any tort injury.

4. Debt Collector is also hereby given Notice that:

PAGE 2 of 5

Case 2:15-cv-05557-ODW-|\/|RW' Document 1 Filed 07/22/15 Page 13 of 22 Page |D #:13

DISCLOSURE'STATEMENT ATTACHED

(a) Debt Collector's unsubstantiated demand for payment. A
a scheme to be delivered by mail may constitute mail fraud
under the State and Federal Laws. (Debt Collector may wish
to consult with a competent legal council before
originating any further communication with respondent)

(b) Debt Collector's failure in providing respondent the
requisite Verification, Validating the above referenced
alleged debt within the requirements of law as coded in the
FAIR DEBT COLLECTION PRACTICES ACT and the corresponding

laws of each state signifies that debt collector tacitly

agrees that:

l l Debt Collector has no lawful, bona fide, verifiable claim
regarding the above referenced alleged account.

ll Debt Collector waives any and all claims against respondent.

Ill Debt Collector tacitly agrees that Debt Collector will
compensate respondent for al cost, fees, and expenses
incurred in defending against this claim and any continued
fraudulent collection attempts regarding the above referenced
alleged account.

5. This is also an attempt for determining the nature and basis

of a case or counterclaim against the debt collector, and any

information contained within debt collector's commission, omission,

and the like will be used for that purpose.

PAGE 3 of 5

` Case 2:15-cv-05557-ODW-|\/|RW Document 1 Filed 07/22/15 Page 14 of 22 Page |D #:14

THIS IS A NOTICE OF RESERVATION OF RIGHT FOR INITIATING A
COUNTERCLAIM AND FILING A CLAIM AGAINST AN OFFICIAL BOND:

Credit Management LP
NAME OF COMPANY OR BOND HOLDER

***CAVEAT***

7. In the event that the debt collector does not respond to this
"Notice" within the prescribed time limit for repon"e and there has
likewise been no.request for extension of time with good cause shown
therein, then the debt collector agrees that debt collector has
submitted a fraudulent claim against respondent, and reespondent can
file a law suit for costs, fees, and injuries incurred defending

against this fraudulent collection by debt collector regarding the

above referenced account.

PAGE 4 of 5

' Case 2:15`-cv-05557-ODW-|\/|RW Document 1 Filed 07/22/15 Page 15 of 22 Page |D #:15

VERIFICATION AND CERTIFICATION
8. The undersigned consumer, Dav1d KauP ~, does herein
swear, declare, and affirm that this notice for validation of debt
and reservation of rights that the consumer can competently state the
matter set forth herein, that the contents are true, correct, and

complete. This verification and certification is executed this 6th

day of May .

 

(Signature’of Consumer)r

PRooF oF sEvacE.».

I declare under penalty of perjury under the State of
California that I personally mailed af` "Notice for Validation of
Debt" 15 Pages) and "Debt Collector's Disclosure Statement" (3 Pages)

to all parties listed below at:

_Qredit Management LP
4200~International Pkwy

 

Carrollton, TX 75007l

 

On this 6§h day of May_ggj§ , l certify this to be true,

correct, and complete.

 

(Signature of Consumer)

PAGE 5 of 5

` Case 2:15§cv-05557-ODW-l\/|RW locumentl Filed 07/22/15 Page 16 of 22 Page lD #:16
` TRUL|NCS 62547112 - KAuP, DAVID - unit; va-A-u § § h , f

  

FROi\/l: 62547112
TO:
SUBJECT: Notice of Dlspute - Credit Management LP

Name:
David Kaup

Date of Birth:
01/26/1983

SSN:
XXX-XX-XXXX

l\/lal|lng Address:

Dav1d Kaup - 62547112
Federa| Correctiona| institute 2
Po Box 3850

Adelanto, CA 92301

To Experian-Trans Unio and/or Equifax,‘

l obtained a copy of my consumer credit report through intermediary www.freecreditreport.com on 05/02/2015. l am sending
this letter to dispute matters below which is unknown, inaccurate and incomplete. l requested verification and proof of debt from

Credit Management LP and never received a response regarding this matter i Wouid like to have this permenantly removed
from my credit report Thank You ' ~ " »

'Account Name: Credit Management LP .
Creditor Address: 4200 international Parkway, Carrollton, TX 75007
Account Status`: Closed
Account# 4474XXXX
Date Opened: 10/01/2010

    

seTB‘:’ t'c°\e/S-Ei‘eaa7-ova-1\/1va Documemi Filed 07/22/15 195'©1§¥‘7“§)1:0?’“11§ §§dl’rji`tttiof‘a'

 

CREDlT

AccountSummary .
MANAGEMENT. L..P.

 

 

 

 

 

 

 

 

 

Original Creditor CHARTER COi\/ll\/iUNlCATlONS
4200 lntemational Parkway Credltor Account # 245100 170461418

Carro|iton, TX 75007-l9i2

05/26/ l 5

David Kaup Rei`erence #: 044746665

PO Box 3850

Adelanto, CA 92301-0709 `

Dear Davicl Kaup,

Our office has reviewed the above-referenced account and we have made the decision to discontinue our collection efforts

Rest assured that a deletion request will be submitted to the credit bureaus for any information regarding the account that we reported to them.
Notice - See reverse side for important notices and consumer rights. v

Sincereiy,

Credit Management, LP- Collections Department, a member of ACA international

4200 international Parkway
Carroilton, TX 75007- l 9 l 2

|||||||ll||ll||i|l||ll|li|||||ll||ll|ll||l|li|l|ll|il|l|l|l|ll||l

05/26/| 5

ll'11||'|'1"11""|1'1''||'l"ii"'lll'l|'i|'|'|'i||"11'i'"1'i
Dav1d Kaup

PO Box 3850

Adeianto, CA 9230 l-0709

REN- 2
W CMiG/WZ 373 i 43300| 5| 2989/0()0()0|497/0()00()00l 2

‘ nunn coMPLI;TEu RE'ruRN ~rt_)_=_
case 2:15-cv-05557-Ova-l\/lva beaumont 1 Filed 07/22/15 Page 18 of 22 Pagédr‘dliiiilte§: *

DEBT COLLECTOR D|SCLOSURE STATEMENT
t Re “Ofter of Ferformance”
Thls statement and the answers contained herein may be used by Reapundent. if neeessary. in any court ol competent ]urisdlcllon.

Responde_nt's Prlvate NOTICE_ Admlnlstrattve Remedy Demand No. .

Notlg: This Debt Collectnr Disclosure Statement is not a substitute fcr, nor the equivalent ot, the hereinabove-requested
verification of the record, l.e. 'Contirmation of correctness trulh, ar authenticity, by affidavit oath, or deposition' (Black‘s l.aw
Digtlonag_r, Slxth Edltton, 1990), re the alleged debt, and must be completed in accordance with the Fair Debt Collect!on
practices Act, 15 USC §16929, applicable portions of anlh in tending (Regulatlon Z), 1_2 CFR 226. and demands as cited

above ln Ofler of Performance. Debt Collector must make all required disclosures clearly and conspicuously in writing re the
following:

 

1. Nameoroebtcouector ......
Address ol Debt Collector'. ..............................................................................................................................
Name of alleged Debtor'. ..................................................................................................................... »
Address ol alleged Debtor. ..............................................................................................................................
Alleged Account Number: ................................................................................................................................
Aueged debt owed:s ................................................................... ‘ .................................................... . ..... ' ..........
Date alleged debt became payable: .................................................. , ................................................................

oo.`|.°‘!~".**.‘**'!\"

Re this alleged account. what is the name and address ot the alleged Original Creditor, if different from Debt‘Collector?

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

9. ~ Re this alleged account. it Debt Collectorls different from alleged Original Creditor, does Debt Collector have a bona tide

affidavit of assignment lor entering into alleged original contract between alleged Original Creditor and alleged Debtor?
YES NO - '

'10. Did_Debt Collecth purchase this alleged account lrorn the alleged Original Credito(? YES NO NIA (Not Applicable)
ll. lt applicable, date of purchase ot this alleged account from alleged Original Creditor, and purchase amount '
Date: ............................ ' ................................ Amount $ ............................. ...............................................
12. Did Debt Collector purchase this alleged account lrom a previous debt collector? YES NO ‘N/A
13. ll applicable, date of purchase of this alleged account from previous debt collector, and purchase amount:
y .

Date'. ............. t .............................................. Amount: $ ........................................... .................................

14, Regarding this alleged accountl Debt Collectoris currently the:
(a) Owner, (b) Assignee', (c) Other - explain: ............................................. -. ........................................................

..................................................................................................................................................................

15. What are the terms of the transfer ot rights re this alleged account? .......................................................................

16. lt applicable, transfer of rights re this alleged account was executed by the following method:
(a) Asstgnment; tb) Negouaton; tc) Novatton; (d)otner- explain ..... t ............

.....¢nunn»-»-~n...u......n»u-¢..¢...-n~.»....,.n-.¢-~»-"..,....»...¢. ...................................................................................

9 Case 2:15-Cv-05557-ODW-I\/|RW Document 1 Filed _07/22/15 Page 19 of 22 Page |D #:19

1

18.

19.

20`.

21.

23.

24.
25.
2a
- 27.
` 28.
__ 29.
ao.

~31.

32.

33.

_`l

. What rs the nature and cause of any consent cited° rn # 21 above?

|f the transfer of rights re this alleged account was by assignment was there consideration? YES NO N/A
What' rs the nature and cause of the consideration cited rn # 17 above?

.................................................................
.

..................................................................................................................................................................

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

lf the transfeer rights re this alleged account was by novaticn, was consent given by alleged Debtor? YES NO N/A

c
¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

Has Debt Collecth provided alleged Debtor with the requisite verification of the alleged debt as required by the Far‘r Debt
Collectr'on Practr'ces Act? YES NO

Date said verification cited above in # 23 was provided alleged Debtor.

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

Was said verification cited above in # 23 ln the form of a sworn oraftimred oath. afiidavit, or deposition? YES NO
Verification cited above in # 23 was provided alleged Debtor in the form of: OATH AFFlDAVlT DEPOST|ON
Does Debt Collector have knowledge of any claim(s)ldefense(s) re this alleged account? YES NO

What rs the nature and cause of any claim(s)ldefense(s) re this alleged account?

Was alleged Debtor sold any products/services by Debt Collector'? YES NO

.......................................................

What is the nature and cause of any products/services cited above in # 297

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢¢

Does there exist a verifiable, bona fide original commercial instrument between Debt Collector and alleged Debtor
containing alleged Debtors bona ride slgnature? YES NO

What' rs the nature and,cause of any verifiable commercial instrument cited above in # 317

.........................................

..................................................................................................................................................................

Does there exlst ventiablerevidence of an exchange of a benefit or detriment between Debt Collector and alleged Debtor?

' YES NO

34.

35.

36.

37.
38.

What is the nature and cause of`this evidence of an exchange of a benefit or detriment as cited above in # 33?

..................................................................................................................................................................

Does any evidence exist of verifiable external act(s) giving the objective semblance of agreement between Debt Collector
and alleged Debtor? YES NO -' ~

What is the nature and cause of any external act(s) giving the objective semblance of agreement from #35 above?

..................................................................................................................................................................

Have any charge-otis been made by any creditor or debt collector regarding this alleged accounl? YES NO _
Have any insurance claims been made by any creditor or debt collector regarding this alleged account? YES NO

Respoudent'sl’rivate NOTICE AdministrativeRcmcdy Dcmand
PAGE 2

v Case 2:15-Cv-05557-ODW-l\/|RW Document 1 Filed 07/22/15 Page 20 of 22 Page |D #:20

39. Have any tax,wn'te-offs been made by any creditor or debt collector regarding this alleged account? YES' NO
40. Have any tax deductions been made byany creditor ordebt collector regarding this alleged account? YES NO
41. Have any judgments been obtained by.any creditor ordebt collector regarding this alleged account?. YES NO

42. At the time the alleged original contract was executed, were all parties apprised of the meaning of the terms and
conditions of said alleged original contract? YES NO 1

43. At the time the alleged original contract was executed, were all parties advised of the impedance of consulting a licensed
legal professional before executing the alleged contract? YES NO ' v

44. At the time the alleged original contract was executed, were all parties apprised that said alleged contract was a private
credit instrument? YES NO

Debt Collector's ta11ure, both intentional and otherwise, in completing/answering points ‘1' through '44' above and retuming
this Debt Collector Disclosure Statement, as well as providing Respondent with the requisite verification validating the
hereinabovereferenced alleged debt. constitutes Debt Collector's tacit agreement that Debt Collector has no verifiable, lawfut,
bona fide claim re the hereinabove-referenced alleged account and that Debt Collector tacitly agrees that Debt Collector
waives att claims against Respondent and indemnifies and holds Respondent harmless against any and alt costs and fees

heretofore and hereafter incurred and related re any and all collection attempts involving the hereinabove-referenced alleged
account. _

Declaration: The Underslgned hereby declares under penalty ot perjury of the laws of this State that the statements made in
this Debt Collector Disclosure Statement are true and correct in accordance with the Undersigned's best firsthand knowledge
and beliet. ' ' v

 

 

Date l _ Printed name of Signatory

 

 

Ofiicia| title of Signatory Autho'rized Signature for Debt Collector

Debt Collector must timely complete and return this Debt Collector Disclosure Statement, along with all required documents
referenced in said Debt Collector Disclosure Statement. Debt Collector's claim will not be considered if any portion of this -
Debt Collector Disclosure Statement is not completed and timely retumed with all required documents which specifically
includes the requisite verification, made in accordance with law and coditied in the Fair Debt Collection Practices Act at 15
USC §1692 et seq., and which states in relevant part 'A debt collector may not use any lalse, deceptive, or misleading
representation or means in connection with the collection of any debt,' which includes 'the false representation of the
character or legal status ot any debr,' and 'the threat to take any action that cannot legally be laken,' all of which are a
violations of law. |f Debt Collector does not respond as required by law, Debt Collector's claim will not be considered and
Debt Collector may be liable for damages for any continued collection etforts, a`s well as any other injury sustained by
Respondent Please allow thirty (30) days for processing after Respondent's receipt of Debt Collector's response

\

Respondent’s Private NO rice Administrative Remed Derrrand
’ PAGE 3

#:21

§§ _ .7 ..,u 1 ©H_.VL.+//\.vr

.. _thw\\b_» mb§>sr?_lo l
. sep rear
1.@0 `.WO</ WO_.,UQ .rrc*@ .UJ|

H E®»§§y.n.v_ A\D B\~\wo/

ar

naam...m_ oo=ooa§§ Oo:i$x . §
90 ze_ mesa § ~. ..,. _~§
mO._ max waco

>am_m:#o,… O> m»uo._

523 Ps.uomma §§ imm ?.onmmmma
ctr ij wv@n§ Bw".=:@ U.onmacamw don
<o:. 430 §§ sam :m._c._m_.

.. rtc_
*o;§:.~§m .,0
a. = 5a §£9.

Um§._ o@m:ma 32 wsmvm§m
_.Emmm w ncmm»._o: 0~ 90§¢_.: o<m.. <<_:.5:
56 wn"._..e< :mw wc_.._w~.._,,_,ozo:. <o: Bm< §m:
S.SEE Em 329me seq E_A:m~ ._Zo=:mzoa
2 o§§om&o:. x arm ,zz§ m:n_ommw
ooammvo:am:om S~ *o:zw_,&:m 6 masoqu

maa~mmmmo. c_mmmm BE_.: 9a magach 8
5a mvo<o man~omm...

Vm@: §§

Case 2:15-cv-05557-
_ ODW-l\/|RW Documentl Fi|eo| 07/22/15 Page 21 of 22 P
_ _ , HQ€_lD

C:,;rmnw writs 05 weick hoclr
O»DTNQ van .Izm C.®_\K
C,w, Doc$./.</GC@N.“ WOO.S OJ®
,tOw §

.>s,,_@/mw _ O> nco/dl

  

_ ll
. {11

__=_;_____.e_ _
_:i._ ;:;__:_:___`_;_`_:=:_` 1

 

 

